On April 21, 1993, appellant, Richard Swansinger, pleaded guilty to three counts of sexual battery, felonies of the third degree, in violation of R.C. 2907.03. In a judgment entry filed on May 27, 1993, the Lake County Court of Common Pleas sentenced appellant to consecutive sentences of two years of incarceration on each count. In a judgment entry filed on May 14, 1997, the trial court adjudicated appellant to be a sexual predator pursuant to recently amended R.C. Chapter 2950, Ohio's version of Megan's Law. Appellant timely appealed, asserting that amended R.C. Chapter 2950 is unconstitutional.
Based on the precedent established by the majority of this court in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, although this writer interposed a dissent to the majority's mandate there that R.C. Chapter 2950 was constitutionally void as applied to sexual predators under Section 1, Article I of the Ohio Constitution, it is clear that the decision in the Williams case controls the outcome here. Hence, I defer to the present controlling authority in this appellate district on the issues raised in this appeal.
Accordingly, the judgment of the trial court is reversed, and the case is hereby remanded for further proceedings consistent with this opinion.
                                ______________________________ PRESIDING JUDGE DONALD R. FORD
NADER, J., O'NEILL, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.